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                                        U.S. Department of Justice

                                        Federal Bureau of Prisons

                                        Northeast Regional Office
VIA E-MAIL
                                        U.S. Custom House
                                        2nd & Chestnut Streets, 7th Floor
                                        Philadelphia, PA 19106


                                        January 25, 2022

Louis A. Pellegrino
Assistant U.S. Attorney
U.S. Attorney's Office for the
Southern District of New York
1 St, Andrew’s Place
New York, New York 10007


     Re:     United States v. Todd Kozel
             Crim. No. 1:19-cr-00460 (KMW)(S.D.N.Y.)


Dear Mr. Pellegrino:

     Thank you for your recent inquiry concerning the Federal Bureau
of Prisons’ (BOP) ability to provide adequate health care for federal
prisoners with significant, acute, or chronic medical conditions.
Specifically, you have asked whether, based on the available
information, the BOP can provide the necessary and appropriate care
for Mr. Todd Kozel should he be sentenced to a term of incarceration
in a federal correctional facility.

     I am aware of Mr. Kozel’s medical conditions as described in the
documents provided to this office. Specifically, this office has been
provided with Mr. Kozel’s expert’s letter, treating physicians’
letters, and relevant portions of his presentence investigation
report. Those documents indicate Mr. Kozel suffers from various
conditions, including but not limited to: decreased cognitive function
post-COVID 19 infection; pharyngeal squamous cell carcinoma for which
he was treated with chemo and radiation therapy; oral mucous ulcers,
radiation mucositis and oropharyngeal candidiasis; hypotension; severe
dry mouth. Those documents further indicate that Mr. Kozel will
require additional specialty follow up for his cancer, and that he is
unvaccinated for COVID due to medical reasons related to his cancer.

     The BOP has implemented a medical care level classification
system. The care level classification system is intended to enhance
the BOP’s ability to manage inmate health care effectively by matching
inmates with those institutions that can best meet their medical
needs, while at the same time achieving optimal use of the BOP’s
health care resources.

     If committed to the custody of the BOP, Mr. Kozel may be reviewed
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for designation by the BOP Office of Medical Designations and
Transfers. At that time, a determination would be made as to the
appropriate facility, either a Federal Medical Center or a general
population institution, in which to designate Mr. Kozel.

     Federal Medical Centers are prisons that provide in-patient care
to seriously ill inmates. The BOP has seven of these centers
throughout the United States. Besides providing chronic care for
seriously ill inmates, these medical centers also provide services
such as chemotherapy, pain management clinics, dialysis, and hospice
care for terminally ill inmates. Each medical center also has a long-
term unit for inmates requiring 24-hour nursing care.

     BOP institutions are accredited by the Joint Commission on
Accreditation for Health Care Organizations, which sets the medical,
surgical, and psychiatric standards for hospitals nationwide.
Additionally, each BOP institution contracts with medical centers in
the local vicinity to provide specialized medical treatment. These
medical centers offer the BOP a wide range of trained specialists and
diagnostic tools such as MRIs and CT Scans. If needed, the BOP would
be able to provide Mr. Kozel with medical specialists through the
BOP’s contractual agreements. While it is true many of these
specialists are not located inside the institution, the BOP has
procedures in place to transport inmates to and from local hospitals
and other contracted medical centers so that inmates can receive
appropriate and necessary care. Further, when medical emergencies and
the need for surgical procedures arise, each institution has
procedures in place that instruct health services and/or correctional
staff on how to contact local emergency medical services for
transportation to a local medical center.

     Every BOP facility, regardless of care level, has a Health
Services Department, typically staffed with a physician(s) and mid-
level providers, such as physician assistants and nurse practitioners,
along with technical and administrative staff. Most Health Services
Departments conduct “sick-call” four or more days per week for the
entire inmate population.

     All inmates entering our facilities are thoroughly screened by
medical staff for physical and mental health conditions. They are
monitored thereafter through follow-up appointments and chronic care
clinics, as necessary. A medical plan of action for an inmate includes
a thorough and timely history and physical exam to ascertain the
mental health and medical status of each inmate upon their arrival to
a BOP facility. Following this screening, the treating Clinical
Director and Chief Psychologist may formulate a plan that addresses
his/her medical, mental health and activities of daily living. This
plan may include assessment of the daily functioning, i.e., handicap
living quarters, need for a bottom bunk, ambulatory aides or bracing,
inmate companion for assistance of activities of daily living,
pharmacy line oversight, psychological care and therapies, specialty
consultations, etc.

     Every general population institution runs a number of chronic
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care clinics whose purpose it is to provide routinely scheduled
quality care to medically ill inmates, as well as to stay cognizant of
any changes in medical conditions that may arise. If Mr. Kozel is
designated to a general population institution, it is likely he would
be assigned to the Cardiac, Hypertension, Endocrinology/Lipid, Mental
Health, Gastroenterology, Diabetes, Orthopedic/Rheumatology, and
Pulmonary Chronic Care Clinics. Inmates enrolled in chronic care
clinics are seen as often as medically necessary. If incarcerated, it
would be helpful if Mr. Kozel provides medical records to his treating
physician at the institution in order for the physician to obtain a
full medical history.

     The BOP has an extensive National Formulary of medications
approved for inmate use. If Mr. Kozel is prescribed medications that
are not explicitly on the Formulary, substantially similar equivalents
would be prescribed. Finally, if a substantially similar equivalent is
not available, a non-Formulary request can be made by his treating
clinician to the BOP’s Central Office in Washington, D.C. Non-
formulary requests can usually be accomplished within 36 hours of the
clinician’s request. If Mr. Kozel is incarcerated, he should bring all
current medications with him upon self-surrendering to his designated
facility. The medications will then be reconciled with medications
from the National Formulary.

     Based on the information provided to me and my knowledge of the
BOP’s medical resources, the BOP will be able to provide appropriate
care for Mr. Kozel should he be sentenced to a term of incarceration
and committed to the custody of the BOP. For your convenience, I have
attached a general outline to explain how the BOP designates prisoners
with medical illnesses and to describe the medical services available
within the BOP.

                                       Sincerely,


                                       Diane Sommer, MD
                                       Regional Medical Director
                                       Northeast Region
